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 6                           IN THE UNITED STATES DISTRICT COURT
 7                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,                  )         Case №: 2:14-CR-00044 MCE
                                                )
 9                  Plaintiff,                  )                     ORDER
                                                )                APPOINTING COUNSEL
10           vs.                                )
                                                )
11   PETR KUZMENKO,                             )
                                                )
12                  Defendant.                  )
                                                )
13
            The defendant has, under oath, sworn or affirmed as to his financial inability to employ
14
     counsel.
15
            OFFENSE: 18 USC § 286
16
             CJA Panel attorney Michael Chastaine is hereby appointed effective March 5, 2014, the
17   date the Office of the Federal Defender first contacted him.
18          APPOINTED COUNSEL IS ORDERED TO RETAIN THE SIGNED FINANCIAL AFFIDAVIT
19   SUPPORTING APPOINTMENT.

20   DATED: 3/11/2014
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22                                                  ____________________________
                                                    HON. ALLISON CLAIRE
23                                                  United States Magistrate Judge

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     ORDER APPOINTING COUNSEL                         1
